Case 9:10-cv-80737-DTKH Document 136 Entered on FLSD Docket 10/21/2011 Page 1 of 13
Case 9:10-cv-80737-DTKH Document 136 Entered on FLSD Docket 10/21/2011 Page 2 of 13
Case 9:10-cv-80737-DTKH Document 136 Entered on FLSD Docket 10/21/2011 Page 3 of 13
Case 9:10-cv-80737-DTKH Document 136 Entered on FLSD Docket 10/21/2011 Page 4 of 13
Case 9:10-cv-80737-DTKH Document 136 Entered on FLSD Docket 10/21/2011 Page 5 of 13
Case 9:10-cv-80737-DTKH Document 136 Entered on FLSD Docket 10/21/2011 Page 6 of 13
Case 9:10-cv-80737-DTKH Document 136 Entered on FLSD Docket 10/21/2011 Page 7 of 13
Case 9:10-cv-80737-DTKH Document 136 Entered on FLSD Docket 10/21/2011 Page 8 of 13
Case 9:10-cv-80737-DTKH Document 136 Entered on FLSD Docket 10/21/2011 Page 9 of 13
Case 9:10-cv-80737-DTKH Document 136 Entered on FLSD Docket 10/21/2011 Page 10 of 13
Case 9:10-cv-80737-DTKH Document 136 Entered on FLSD Docket 10/21/2011 Page 11 of 13
Case 9:10-cv-80737-DTKH Document 136 Entered on FLSD Docket 10/21/2011 Page 12 of 13
Case 9:10-cv-80737-DTKH Document 136 Entered on FLSD Docket 10/21/2011 Page 13 of 13
